Case 19-00149-SMT         Doc 101     Filed 07/02/19 Entered 07/02/19 23:11:04           Desc Main
                                     Document     Page 1 of 6



                         IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLUMBIA

 In Re:                                        :
                                               :
                                               :
 THOMAS K. STEPHENSON                          : Case No.: 19-00149 SMT
                                               :
                                               :
          Debtor                               : Chapter 11
                                               :
                                               :
                                               :
                                               :


  RESPONSE TO MOTION TO CONTINUE RETENTION AND FUNDING OF STATE
    COURT ORDERED RECEIVER PURSUANT TO SUPERIOR COURT ORDERS

          COMES NOW the Debtor, Thomas K. Stephenson by and through his counsel, Charles
 M. Maynard, Esquire, files this response to the Motion to Motion to Continue Retention and
 Funding of State Court Ordered Receiver Pursuant to Superior Court Orders and in support of
 which states the following:


          1. That the Debtor agrees with the statements made in paragraphs #1 and #2.

          2. That the Debtor agrees with the statement made in paragraph #3.

          3. That the Debtor does not have sufficient information to agree or disagree with the

 statement made in paragraph #4.

          4. That the Debtor agrees with the statements made in paragraphs #5, #6 and #7.

          5. That Debtor agrees with the statements made in paragraphs #8 and #9.

          6. That the Debtor agrees with the statements made in paragraphs #10, #11, #12 and #13

 due in part to specific tenants withholding their monthly rental payments.
Case 19-00149-SMT        Doc 101     Filed 07/02/19 Entered 07/02/19 23:11:04             Desc Main
                                    Document     Page 2 of 6



        7. That the Debtor agrees with the statements made in paragraphs #14, #15, #16, #17,
 #18, #19 and #20.

        8. The Debtor agrees with the statement made in paragraph #21.

        9. The Debtor does not have sufficient information to agree with the statements made in

 paragraphs #22 and #23 and leaves the Movant to its own proof.

        10. The Debtor agrees with the statements made in paragraphs #24, #25 and #26.


        11. The Debtor agrees in part and disagrees in part with the statement made in paragraph
 #27.
        12. That the Debtor agrees with the statement made in paragraph #28.

        13. That the Debtor agrees with the statement made in paragraph #29.
        14. That the Debtor disagrees with the statement made in paragraphs #30 as this Court
 has now Ordered the appointment of a Trustee pursuant to U.S.C § 1104 and the continued
 retention of the Receiver is likely to be duplicative and financially burdensome to the Debtor as
 the scope of responsibilities that the Trustee as enumerated pursuant to Sections §704 and §1106
 of the Bankruptcy Code encompasses what the Receiver is now tasked to perform.


        15. That the Debtor agrees in part and disagrees in part with the statements made in
 paragraphs #32 based on the response stated above in #14.

        16. That the Debtor agrees with the statements made in paragraph #34 and #35. There is
 no #33.


        17. That Debtor agrees in part and disagrees in part with the statement made in
 paragraph #36 now that a Bankruptcy Trustee will be appointed pursuant to 11 U.S.C § 1104.


        18. That the Debtor agrees with the statements propounded in paragraph #37, #38, #39,
 40, #41 and #42.
Case 19-00149-SMT         Doc 101     Filed 07/02/19 Entered 07/02/19 23:11:04            Desc Main
                                     Document     Page 3 of 6




        19. That the Debtor disagrees with the statement made in paragraph # 43 in that this
 Court has now Order that a Trustee be appointed to manage the Debtor’s estate pursuant to
 11 U.S. C §1104.

        20. That Debtor agrees with the statement made in paragraph #44.

        21. That Debtor disagrees with the statement made in paragraph #45 in that there will be
 more than sufficient funds to rehabilitate Debtor’s properties because there is significant equity
 and value in the Debtor’s estate.
        22. Debtor agrees in part and disagrees in part with the statement made in paragraph #46
 and has undertaken the task of accounting for all of his income and expenses and has already
 established a debtor-in possession account with Capitol One Bank as filed with this Court at
 Docket #93.
        23. Debtor agrees with the statement made in paragraph #47.


        24. Debtor disagrees with the statement made in paragraph #48.


        25. That the Debtor agrees with the statements made in paragraph #49.



        26. That the Debtor disagrees with the statement made in paragraph #50 now that the
 appointment of a Trustee is pending and that this Court should allow the new Trustee to express
 the suitability of maintaining the services of the Receiver given the comments noted above
 concerning duplicative tasks and services and financial burden on the Debtor in items #14 and
 #19.

        27. That with respect to the statement made in paragraph #51, the Debtor refers to the
 statements made above in item #25.
Case 19-00149-SMT        Doc 101     Filed 07/02/19 Entered 07/02/19 23:11:04                Desc Main
                                    Document     Page 4 of 6



        28. That the Debtor does not have sufficient information to agree or disagree with the
 statement made in paragraph #52.




 WHEREFORE, Debtor prays:

                A. That the Motion to Continue Retention and Funding of State Court Ordered
 Receiver be denied in light of the pending appointment of a new Trustee and;


                B. For such other and further relief as the nature of this cause requires.

                                       Respectfully Submitted,

                                   /s/ Charles M. Maynard
                                   Charles M. Maynard
                          LAW OFFICE OF CHARLES M. MAYNARD, LLC
                             200-A Monroe Street, Suite #115
                                   Rockville, MD 20850
                                   (301) 294-6003
                                   (301) 294-6004 FAX
                                       Attorney for Debtor

                                  CERTIFICATE OF SERVICE

        I DO HEREBY CERTIFY that a copy of the foregoing Response was sent on the 2nd
 day of July, 2019 by mail to the following to the extent that they were not served electronically
 via the CM/ECF system.

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Case 19-00149-SMT        Doc 101     Filed 07/02/19 Entered 07/02/19 23:11:04   Desc Main
                                    Document     Page 5 of 6



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                                      /s/ Charles M. Maynard
                                         Charles M. Maynard
Case 19-00149-SMT   Doc 101    Filed 07/02/19 Entered 07/02/19 23:11:04   Desc Main
                              Document     Page 6 of 6




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